Case 3:20-cr-00450-EMC Document 85 Filed 06/14/22 Page 1of11

Stuart D. Kirchick, Esq.

 

 

 

 

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2 LAW OFFICES OF STUART D. KIRCHICK
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3 Capitola, California 95010
Ph: 831/464-8340 Facsimile: 831/464-8342
4
Attorney for: Defendant, CRISTIAN ALVARADO
5
IN THE U.S. DISTRICT COURT IN AND FOR THE
6 NORTHERN DISTRICT OF CALIFORNIA
7
| No.: 0971 3:20CR00450-002 EMC
3 || UNITEDSTATESOF AMERICA, 7 Pocket No.:_0971 3:
] SENTENCING MEMORANDUM ON
9 Plaintiff(s), ] BEHALF OF MR. ALAVARDO
]
10 ] Date: June 22, 2022
Vv | Time: 2:30 p.m., via ZOOM
4} | Judge: “Fre Honor able Faw aré ME: Chen: United
] States District Judge
12 CRISTIAN ALVARADO, ]
|
13 Defendant(s). ]
]
14
SENTENCING MEMORANDUM AND MOTION FOR DOWNWARD DEPARTURE
15 AND VARIANCE
16
Defendant, CRISTIAN ALVARADO, by and through his Attorney, STUART D.
17
“RIRCHICK, comes before this Court for sentencing after having pled guilty to Count Two of
18
the Indictment, a charge of possession with intent to distribute 500 grams and more ofa
19
mixture and substance containing methamphetamine in violation of 21 USC sec. 841 (a)(1)
20
and (b)(1)(A)(viii).
21
As indicated in the Presentence Investigation Report (“PSR”), dated June 3, 2022, by
22
the probation officer, the Total Offense Level for Mr. ALVARADO is 26 (See PSR P 52.)
23
Given that Mr. ALVARADO has no prior criminal history, his Total Criminal History
24

Score is zero which places him in Category I (See PSR: P-56:)-Mr. ALVARADO’s

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sentencing guideline range is 63- 78 months. Mr. ALVARADO has never even been arrested
before.

As set forth in the PSR, Mr. ALARADO’s employment and family history reflect a
person who works hard and cares for his mother who raised him alone. Further, that Mr.
ALVARADO is deeply apologetic for his actions assisting drug dealers with by delivering
large quantities of methamphetamine. As he explained to the government during the safety
valve meeting, Mr. ALVARADO was losing employment hours due to the pandemic when
the opportunity was presented to him to make a thousand dollars or so for a delivery or two.
He was arrested for the only illegal work he performed which he deeply regrets.

Attached hereto are character letters attesting to the type of person before the Court for

 

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sentencing: A-eommorr theme from those who know him; and work -wittr ting is that Mir:
ALVARADO is a hard worker who has a heart of gold for others and especially his mother
whom he cares for deeply.
LEGAL STANDARD

In United States v. Booker, 543 U.S. 220 (2005), the Supreme Court held that the
Sentencing Guidelines are just "one factor among several courts must consider in determining
an appropriate sentence." Kimbrough v. United States, 552 U.S. 85, 105 (2007). While the
Guidelines must serve as the "starting point and the initial benchmark" of this inquiry, the
sentencing court "may not presume that the Guidelines range is reasonable." Gall v. United
States, 552 U.S. 38, 49-50 (2007). The court's central task must be to impose a sentence |
"sufficient, but not greater than necessary," to comply with the purposes set forth in 18 U.S.C.
§ 3553(a)(2).

The Court shall consider the following factors when determining a particular

sentence:

 

 
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1) The nature and circumstances of the offense and the history and characteristics of

 

 

 

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2 the defendant;

3 2) The purpose and need for a sentence imposed;

4 3) The kinds of sentences available;

5 4) The advisory guideline range;

6 5) Any policy statements issued by the Sentencing Commission;

7 6) The need to avoid unwarranted sentence disparities among defendants with similar

8 records who have been found guilty of similar conduct; and

9 7). The need to provide restitution to victims of the offense
10 18 ULS.S.G. § 3553(a).
TT ~Atterthese considerations under $3553 (a); as welt as other factors unique to the
12 Defendant, including his entire background and character, not just the negative characteristics
13 and negative events reflected in his criminal history, the Court can conclude that a sentence
14 below the advisory guidelines is an appropriate sentence for Mr. ALVARADO. Additionally,
15 not only are the Guidelines not mandatory, the sentencing court is not “to presume that a
16 sentence within the applicable Guideline range is reasonable.” Nelson v. United States, 555
17 U.S. 350, 352 (2009).
18 As stated in the PSR, Mr. ALVARADO had a minimal role in the overarching
19 || conspiracy did not cover any extensive period of time. While it is true that the quantity of
20 narcotics he delivered and possessed was large, he was nothing more than a runner for 2-3
21 days, made no money for doing it, made no decisions about it, and deeply regrets his-actions.
22 || Mr. ALVARADO has always been employed and works very hard to support he and his
23 mother. The assets he owns, is paper equity in the family residence. Liquid wise, Mr.
24 ALVARADO lives paycheck to paycheck.
25

 

 
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Mr. ALVARADO it is recommended in the PSR that a 2-level reduction for his minor
role in the offense be considered, many advocate that a courier or mule is deserving of a 4-
level reduction for a minimal role to distinguish the guideline calculation for a courier from
that of a kingpin (Kevin E. Lerman, Couriers, Not Kingpins: Toward a More Just Federal
Sentencing Regime for Defendants Who Deliver Drugs, 7 U.C. Irvine L. Rev. 679 (2017).
Available at: https://scholarship.law.uci.edu/ucilr/vol7/iss3/8.)

As stated in the Mitigating Role Application Notes of USSG 3B1.2, as
amended, subsection (a) or subsection (b), or an intermediate adjustment, is
based on the totality of the circumstances and involves a determination that is
heavily dependent upon the facts of the particular case.

In determining whether to apply subsection (a) or (b), or an

intermediate adjustment, the court should consider the following

 

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non-exhaustive list of factors:

(i) the degree to which the defendant understood the scope and
structure of the criminal activity;

(ii) the degree to which the defendant participated in planning or
organizing the criminal activity; and

(iii) the degree to which the defendant stood to benefit from the
criminal activity.

4, Minimal Participant. — Subsection (a) applies to a defendant described
in Application Note 3(A) who plays a minimal role in the criminal
concerted activity. It is intended to cover defendants who are plainly
among the least culpable of those involved in the conduct of a group.
Under this provision, the defendant’s lack of knowledge or understanding
of the scope and structure of the enterprise and of the activities of others
is indicative of a role as minimal participant.

IV. CONCLUSION

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Mr. ALVARADO is plainly the least culpable of those involved in the conduct of

charged conspiratorial group. It is clear from the evidence, that he has no knowledge or scope

 

 
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of understanding the breadth of the enterprise for which he briefly assisted. Of the massive

amounts of wiretap and other evidence, it is clear that his role was limited to a few days in

comparison to the total investigation that occurred well over a year. For the forgoing reasons,

it is respectfully requested that this Court, for the reasons contained in this Sentencing

Memorandum and Motion for Downward Departure and Variance, the following:

A. Fora downward departure from his Sentencing Guideline range;

B. For a downward variance from his final Sentencing Guideline range; and

For any other relief that the Court deems equitable and just under the circumstances.

Dated: May 14, 2022

Respectfully Submitted,
LAW OFFICES OF STUART D. KIRCHICK

 

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By: : nen yl f
STUART D. KIRCHICK, Esq. \
Attorney for Defendant, MR. CRISTIAN ALVARADO

 

 
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Joshua Lemke
513 Mission Place
Danville Ca. 94526

May 5, 2022
Re: Cristian Alvarado

To : The Honorable Judge Edward M. Chen

| have worked as Cristians Manager for the last five years. | was surprised to hear about
Cristians situation but | also understand that good people make mistakes. | am writing this
reference letter for Cristian in hopes that the court shows compassion to Cristian in order to
prevent somebody with so much potential getting lost in the system.

Cristian works with drive and commitment. He takes direction really well and grows
professionally everyday. One thing that sticks out to me about Cristian is his passion for helping
others. This is something that is rare in the business world but he thrives on seeing others
around him do well. He is a huge part of the store and the lives of the people around him.

Cristian is very aware of the severity of his actions let led up to his case in court. Do to his
success in business he has been made aware that he never needs to resort to any lifestyle
choices he has made in the past that might jeopardize his future. He is a young man that has all
the making for success if given the opportunity.

i too needed a letter similar to this one because of a poor choice | made in my past. | was given
the second chance I needed in order to turn my life around for the better. My gratitude for that

| hope the court takes this letter into consideration during his case. Cristian has a lot to offer
and | hope he gets the chance to continue on the straight path he is on currently.

Sincerely,
Joshua Lemke,

Joshua Lemke

 
 

 

 

 

 

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Case 3

 

 

 

 

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5/34/22, 3:36 PM Case 3:20-cr-00450-EMC Document 85 Fjled 06/14/22 Page 8 of 11

From: cristianfremontford@gmail.com,
To: sdkirchick@aol.com,
Subject: Letter
Date: Tue, May 31, 2022 2:22 pm

 

The Honorable Edward Chen,

Hello my name is Sayed Asalati, [ am the general sales manager at Fremont Ford and have been the supervising manager to Cristian Alvarado for
the past year. During the time we have worked together he has been an extremely reliable employee that I have been truly grateful to develop a
personal friendship with as well. Mr. Alvarado confided into me that he is facing some legal troubles. He has taken full accountability and
demonstrated a strong desire for self improvement and has been working at pursuing his career goals daily. I have great confidence that Mr.
Alvarado will continue to remain on the right path and be a solid upstanding figure in this community. It is my hope that this letter regarding
Cristian Alvarado, will act as a positive and contributing factor when the courts consider this matter.

Sincerely,
Sayed Asalati

Sent from my iPhone

 

https://mail.aol.com/webmail-std/en-us/PrintMessage

WwW

 
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Juan Luis Del Real
345 Rayos Del Sol Drive
San Jose, CA, 95116

May 31, 2022
To wnom it may concern,

| have had the pleasure of knowing Cristian Alvarado for almost 6 years. Despite
the current case, I’ve always believed Cristian to be a stand out individual with
kind, responsible, and hard working traits. | understand the seriousness of this
matter but hope that this letter can serve as a reminder of the true character of
Cristian Alvarado.

it was 2016 and | had decided to move out of my parents home. | had lived in
small town my whole life and thought it was time for a change. That summer, ,
moved out to San Jose and was in need of a stable job. At the time I still hadn’t

lade any friends other than the people | lived with. Shortly after securing a
position as a car salesman at Momentum Chevrolet | met Cristian Alvarado. He

s on the sales team that | was assigned td. He had already been there for a

while and knew the business much better than | did. After a week of training with
a sales manager, it was time for the real thing. | struggled a lot those first few
days and wasn’t able to keep the attention of any customer. After multiple
rejections, Cristian noticed the difficult time | was going through and took it upon
himself to help me out. No one had asked him to come help me. We knew
nothing other than our names about each other. Regardless, Cristian saw me
failing and decided to help me out at my lowest. That day | went on to make my
first car sale and a friend. Cristians car knowledge was immense. He had
dedicated his time to become an expert on Chevrolet vehicle product. knowledge
and was given the proper accolades for it. | went on to shadow him on many of
nis car deals while | silently learned more about the different models and specs of
each vehicle from him. Thanks to him | was able to go on and have a successful
year in the car business. Outside of work he was no different. Cristian would go

on to introduce me to downtown San Jose, the best restaurants, popular places.
to visit, and long | lasting connections | made with his friends on the way. Only a
few months in and | had already felt like a local because of him. What began as a

Kind act, helped me achieve success in both my work and social life, during my

 
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first few months here. After a year of working with Cristian, | went on to explore a
different line of work. Throughout this time we remained friends and would
periodically visit one another.

in 2018 | started working as a contractor for a small door company based in
Cupertino. 7 ne company was growing fast and needed good workers to expand
further. This led to Cristian being hired that same year. Together we were

assigned to install and maintain automatic door operators for multiple Apple
ouildings located around Sunnyvale and Cupertino. His commitment and
constant hard work had him move up in the company to become a door
technician. With that, Cristian was once again assigned to work alongside me

with new, more advanced machinery. As 3rd party contractors, we would perform
daily maintenance on all automatic doors located at Apple Park headquarters in
Cupertino. He continued to work hard and was a quick learner with any new
hardware we worked with. We went on to work there for over 2 years and in that
time we grew closer as friends.

| pray that the court takes this letter into consideration at the time of the
sentencing. Being around Cristian for s so long has allowed me to see him for who
he really is. Cristian Alvarado is an amazing human being that works hard, helos
others in need, and has a heart of gold. | know we'll always remain friends no
matter wnat.

Sincerely,

Juan Luis Del Real

 
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PROOF OF SERVICE
5 People v. MR. CRISTIAN ALVARADO
Case No.: Docket No.: 0971 3:20CR00450-002 EMC
3 fam a citizen of the United States over the age of eighteen years, and not a party to or
interested in the within action or cause. I am employee of the Law Offices of Stuart D. Kirchick and
4 my business address is 820 Bay Ave #248, Capitola, California 95010. Tam readily familiar with the
business practice for collection and processing of correspondence for mailing with the United States
5 Post Office. On this date I caused to be served the following document(s):
SENTENCING MEMORANDUM
6
7 _ Mail: _ by placing a true copy thereof enclosed ina sealed envelope with the first class
postage thereon fully prepaid in the United States Post Office at San Jose, California,
8 addressed as set forth below.
9 _. Personal Delivery: by causing to be hand-delivered, a true copy thereof to the person at the
address below.
10 _ Federal Express: by placing a true copy thereof enclosed in a sealed Federal Express
envelope with postage fully prepaid at a facility regularly maintained by Federal Express
tt addressed as set forth below.
12 __ Facsimile: by causing a true copy thereof to be telecopied to the part at the facsimile number
as set forth below. The facsimile machine I used complied with the Rule 2003(3) and no error
13 was reported by the machine, pursuant to Rule 2005(D, I caused the machine to print a
transmission record of the transmission, a copy of which is attached to this declaration.
14
x Email: by causing a true copy to be scanned and sent by electronic mail to the below listed
15 email address. ,
16 MAILING LIST
Daniel Pastor
17 Assistant United States Attorney
Cell: (415) 308-7998
U.S. Probation Officer
20 Northern District of California
(510) 637-3613 #/05%s (510) 239-1174
_Roberts@canp.uscourts.cov
21 1301 Clay Street, Suite 220S, Oakland, CA 94612
22 I declare under penalty of perjury of the laws of the State of California that all of the foregoing
is true and correct. Executed on June 14, 2022, at Capitola, California. L a
23 AN  w K /
oO / V
24 1 Li — Lo A
/ / (Stuart D. Kirchick \
25 i!

 

 
